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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


RREEF INFRASTRUCTURE (G.P.)
LIMITED, et al.,

               Petitioners,

      v.                                             Civil Action No. 1:19-cv-03783 (CJN)

KINGDOM OF SPAIN,

               Respondent.


                                 MEMORANDUM OPINION

       Petitioners RREEF Infrastructure (G.P.) Limited and RREEF Pan-European

Infrastructure Two Lux S.A.R.L. (collectively “RREEF”) initiated this action to recognize and

enforce an arbitral award they won against Respondent, the Kingdom of Spain. See generally

Pet., ECF No. 1. Spain has moved to dismiss RREEF’s petition, or in the alternative, to stay

these proceedings until the resolution of Spain’s application to annul the award before the

International Centre for Settlement of Investment Disputes. See generally Resp’t Mot. to

Dismiss the Pet. or Stay the Proceeding, ECF No. 16. Consistent with how other courts in this

district have addressed motions to stay when an application to annul an arbitral award remains

pending before ICSID, the Court stays these proceedings until ICSID adjudicates Spain’s

application.

                                      I.      Background

       RREEF Infrastructure and RREEF Pan-European are, respectively, Jersey- and

Luxembourg-based companies that specialize in infrastructure investments. RREEF

Infrastructure (G.P.) Limited v. Spain, ICSID Case No. ARB/13/30, Award, ¶ 4 (Dec. 11, 2019),




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ECF No. 1-1 at 5. In 2005, Spain created a special incentive regime to encourage infrastructure

investment in the country’s renewable energy sector. See RREEF Infrastructure (G.P.) Limited

v. Spain, ICSID Case No. ARB/13/30, Decision on Responsibility, ¶ 91 (Nov. 30, 2018), ECF

No. 1-1 at 110. Relying on these inducements, RREEF invested around €300.8 million in wind

and solar power projects in Spain. Id. ¶¶ 159, 163, 174.

        But Spain’s favorable incentive regime was short-lived. Beginning in 2012, only a few

years after RREEF made its investments, Spain adopted several new decrees retrenching on, and

eventually revoking, the incentives on which RREEF relied. Id. ¶¶ 127–44, 589, 600. These

changes cut RREEF’s returns on its investments. Award ¶¶ 56–57.

        Two treaties govern RREEF’s investments in Spain: the Energy Charter Treaty and the

International Centre for Settlement of Investment Disputes Convention. The Energy Charter

Treaty is a multilateral investment treaty among 52 nations and regional organizations—

including Spain, the United Kingdom, and Luxembourg—to establish a legal framework for

promoting long-term cooperation in the energy field. Energy Charter Treaty, ECF No. 1-3, art.

2.1 The Treaty “obligates signatories to, inter alia, protect investments made in their domestic

territories by investors from foreign signatory states.” Masdar Solar & Wind Cooperatief U.A. v.

Kingdom of Spain, 397 F. Supp. 3d 34, 36 (D.D.C. 2019). As relevant here, Article 26 provides

that “[d]isputes between a Contracting Party and an Investor of another Contracting Party

relating to an Investment of the latter in the Area of the former” can be submitted to international

arbitration at the investor’s election. Energy Charter Treaty art. 26(1), (3)(a).

        The ICSID Convention further protects investors like RREEF by facilitating enforcement

of arbitration awards arising from violations of the Energy Charter Treaty. The Convention is a


1
 Upon ratifying the Treaty, the United Kingdom immediately extended it to the UK’s protectorate, Jersey, as
authorized by Article 40(2).


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multilateral agreement signed by 163 states—including Spain, Luxembourg, the United

Kingdom, and the United States—that provides a framework for arbitrating investment disputes

“between Contracting States and nationals of other Contracting States.” ICSID Convention,

pmbl., ECF No. 1-2.2

        In October 2013, RREEF submitted a request for arbitration with Spain under the ICSID

Convention. See Decision on Responsibility ¶ 14. RREEF alleged that Spain’s actions, which

diminished the returns on RREEF’s investments, breached Spain’s obligation under the Energy

Treaty Charter. See id. ¶ 11. The ICSID constituted an arbitral panel, which determined—over

Spain’s various arguments to the contrary—that it had jurisdiction over the matter. See RREEF

Infrastructure (G.P.) Limited v. Spain, ICSID Case No. ARB/13/30, Decision on Jurisdiction, ¶ 4

(June 6, 2016), ECF No. 1-1 at 42. In November 2018, the arbitral panel issued a decision on the

merits, concluding that by applying its legislative actions retroactively and by failing to ensure a

reasonable return on RREEF’s investments, Spain had breached its obligation to accord fair and

equitable treatment to RREEF’s investments, as required by Article 10(1) of the Treaty. See

Decision on Responsibility ¶¶ 474, 600. And, in December 2019, the panel issued an Award

directing Spain to pay RREEF €59.6 million in damages, plus 2.07% interest from June 30, 2014

until Spain satisfies the Award in full. Award ¶ 81(a)–(b).

        Enforcement of ICSID awards in the United States is governed by 22 U.S.C. § 1650a,

which implements the treaty obligations of the United States, as a contracting party to the ICSID

Convention, to ensure that U.S. courts treat an ICSID award “as if it were a final judgment” of a

state court. ICSID Convention, art. 54(1). Section 1650a thus provides that “[t]he pecuniary


2
 Under Article 70 of the ICSID Convention, the United Kingdom extended the Convention’s application to Jersey.
See ICSID, Contracting States and Measures Taken by Them for the Purpose of the Convention (Feb. 2019),
http://tiny.cc/0s0rpz.



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obligations imposed by [an ICSID] award shall be enforced and shall be given the same full faith

and credit as if the award were a final judgment of a court of general jurisdiction of one of the

several States.” 22 U.S.C. § 1650a(a). Federal district courts have “exclusive jurisdiction” over

actions to enforce an ICSID award. Id. § 1650a(b).

       In December 2019, RREEF filed a petition to enforce the arbitral award in this Court.

See generally Pet. Spain in turn applied to ICSID for annulment of the award. Consistent with

its governing Convention, ICSID stayed enforcement of the award pending the annulment

tribunal’s decision. See ICSID Convention art. 52(5). Later that month, Spain moved to dismiss

RREEF’s petition for a lack of jurisdiction or to stay the proceedings until the ICSID tribunal

concludes its review of Spain’s annulment application. See Resp’t Mot. at 2–3. The European

Commission filed an amicus brief in support of Spain’s motion. See Amicus Brief by European

Commission, ECF No. 29.

                                      II.     Analysis

       Spain moves to dismiss on several grounds, including that the Court lacks subject-matter

jurisdiction under the Foreign Sovereign Immunities Act. See Resp’t Mot. at 1–2. In the

alternative, Spain moves for a stay until ICSID concludes its annulment proceedings. See id. at

30–32. “Rather than delve prematurely into EU case law, international treaties, and sovereign

constitutions,” the Court will stay the proceedings. Masdar, 397 F. Supp. 3d at 38.

       Courts must address jurisdiction before turning to the merits. See Foster v. Chatman, 136

S. Ct. 1737, 1745 (2016). There are, however, “certain non-merits, non-jurisdictional issues

[that] may be addressed preliminarily, because ‘jurisdiction is vital only if the court proposes to

issue a judgment on the merits.’” Pub. Citizen v. U.S. Dist. Court for the Dist. of Columbia, 486

F.3d 1342, 1348 (D.C. Cir. 2007) (quoting Sinochem Int’l. Co. v. Malaysia Int’l Shipping Co.,




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529 U.S. 422, 431 (2007)). One such threshold issue is a stay of a petition to recognize and

enforce an arbitral award. Both the Court of Appeals and courts in this district have concluded it

is appropriate to stay cases, like this one, seeking recognition or enforcement of an arbitral award

when proceedings to annul the underlying award are ongoing in a foreign jurisdiction. See, e.g.

Telcordia Techs., Inc. v. Telkom S.A. Ltd., 95 F. App’x 361, 362–63 (D.C. Cir. 2004); Masdar,

397 F. Supp. 3d at 38–39.

        “[T]he power to stay proceedings is incidental to the power inherent in every court to

control the disposition of the causes on its docket with economy of time and effort for itself, for

counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). When determining

whether to stay proceedings, a court must “‘weigh competing interests and maintain an even

balance’ between the court’s interests in judicial economy and any possible hardship to the

parties.” Belize Soc. Dev. Ltd. v. Gov’t of Belize, 668 F.3d 724,732–33 (D.C. Cir. 2012) (quoting

Landis, 299 U.S. at 254–55). The party seeking the stay bears the burden and “must make out a

clear case of hardship or inequity in being required to go forward, if there is even a fair

possibility that the stay for which he prays will work damage to some one else.’” Philipp v. Fed.

Republic of Ger., 253 F. Supp. 3d 84, 88 (D.D.C. 2017) (quoting Landis, 299 U.S. at 255).

       Considerations of judicial economy favor a stay. Spain’s application to annul the arbitral

award presents many of the same arguments that it presses here. In general, “[l]itigating

essentially the same issues in two separate forums is not in the interest of judicial economy.”

Naegele v. Albers, 355 F. Supp. 2d 129, 141 (D.D.C. 2005) (quoting Nat’l Shopmen Pension

Fund v. Folger Adam Sec., Inc., 274 B.R. 1, 3 (D.D.C. 2002)). These negative effects on judicial

economy are even stronger when “it is clear that the outcome of [the other] proceedings . . . may

affect this Court’s determinations, at a minimum, by virtue of the[ir] persuasive value.” Hulley




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Enters., Ltd. v. Russian Fed’n, 211 F. Supp. 3d 269, 284 (D.D.C. 2016). There can be no serious

dispute that the ICSID proceedings could significantly impact this litigation. After all, ICSID

might annul the award that RREEF seeks to confirm and enforce. If this Court were to affirm an

award that ICSID later annuls, “[m]ore expensive litigation involving more complex issues

would result.” In re Arbitration of Certain Controversies Between Getma Int’l & Republic of

Guinea, 142 F. Supp. 3d 110, 114 (D.D.C. 2015) (cleaned up).

       The possible hardships to each party also favor Spain, which will be significantly

burdened by having to attack the validity of the award in two forums. And if the Court were to

confirm the award now, Spain could face the arduous task of trying to recover seized assets if its

annulment application before the ICSID proves successful. See Getma Int’l, 142 F. Supp. 3d at

118. To be sure, RREEF has a strong interest in quickly collecting its arbitral award, but that

interest is less acute both because ICSID has already stayed enforcement of the award and

because RREEF will be compensated for further delay by the interest that continues to accrue on

the award. In the Court’s view, the hardship to Spain absent a stay outweighs the hardship of a

stay to RREEF.

       The Court therefore concludes that these proceedings should be stayed until the

annulment proceedings before the ICSID conclude. Other courts in this district have reached the

same conclusion when faced with similar circumstances. See, e.g., Infrastructure Servs.

Luxembourg S.a.r.l. v. Kingdom of Spain, Civ. No. 18-1753, ECF No. 36 (Aug. 28, 2019)

(staying the proceedings pending the ICSID’s annulment decision); Masdar, 397 F. Supp. 3d at

34 (same); Novenergia II—Energy & Environment (SCA) v. Kingdom of Spain, Civ. No. 18-

1148, 2020 WL 417794 (D.D.C. 2020) (same).




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       Although a stay is warranted, “a court abuses its discretion in ordering a stay of indefinite

duration in the absence of a pressing need.” Belize Soc. Dev. Ltd., 668 F.3d at 732. The Court

will therefore require the parties to provide regular status updates regarding the status of the

ICSID annulment proceedings. The Court will promptly turn to the merits of the petition when

those proceedings conclude.

                                        III.    Conclusion

       For these reasons, the Court grants Spain’s Motion in part and stays the proceedings until

ICSID rules on Spain’s application to annul the arbitral award. An order will issue along with this

memorandum opinion.


DATE: March 31, 2021
                                                              CARL J. NICHOLS
                                                              United States District Judge




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